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              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


COLEMAN, RONNIE                       X

PLAINTIFF                             X

V.                                    X      CIVIL ACTION NO.

                           X
CHEVRON PHIILIPS CHEMICAL COMPANY LP
                           X
DEFENDANT
                           X

                PLAINTIFF'S ORIGINAL COMPLAINT
                    (JURY TRIAL DEMANDED)


TO THE HONORABLE JUDGE OF SAID COURT:


      COMES NOW, RONNIE COLEMAN, as Plaintiff in the above-styled

and numbered cause of action, and makes this his original complaint, and

complains of CHEVRON PHIILIPS CHEMICAL COMPANY LP, as

Defendant, and for good grounds he would respectfully show the Court as

follows:




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                                 PARTIES


 1. The Plaintiff is RONNIE COLEMAN, an individual person who resides

    at 3010 Deer Crossing, Missouri City, Texas 77459, who may be

    contacted at the address of his counsel of record, Stephen E. Menn, P.O.

    Box 572774, Houston, Texas 77257-2774, Tel. 832-654-2948, FAX

    888-653-4543, email: stephen_menn@sbcglobal.net.

 2. Defendant is CHEVRON PHIILIPS CHEMICAL COMPANY LP, a

    Delaware limited liability partnership doing business in the state of

    Texas, that can be served by causing a summons and a copy of process

    to be personally served upon its Registered Agent for the receipt of

    process, CT Corporation Systems, 1999 Bryan Street #900, Dallas,

    Texas 75201 .


                             JURISDICTION


 3. This Court has jurisdiction to hear this case because all of the res of this

    suit transpired in Harris County, Texas; and, the defendant's principal

    place of business is in Harris County, Texas. Jurisdiction is granted by

    Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. sections



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    2000e to 2000e-17; and, the Age Discrimination in Employment Act of

    1967, as codified 29 U.S.C. sections 621 to 634.


                                 FACTS


 4. Plaintiff RONNIE COLEMAN brings suit arising out of the terms and

    conditions of his employment at the CHEVRON PHIILIPS

    CHEMICAL COMPANY LP.

 5. RONNIE COLEMAN was employed by the CHEVRON PHIILIPS

    CHEMICAL COMPANY LP as an operator. He was 58 years of age

    at the time this complaint was filed. He was 58 years old when the

    events complained of occurred. He is a member of a protected groups

    by being over-the-age-of-40 years and a black male. The plaintiff has

    been an employee of the CHEVRON PHIILIPS CHEMICAL

    COMPANY, for one and a half (1.5) years.

 6. RONNIE COLEMAN was employed as an operator in a chemical

    plant operated by the defendant. In June of 2020, the plaintiff was

    transferred from the chemical plant he started I (Plant 6), to a different

    chemical plant (Plant 7). When the plaintiff was transferred he was

    assigned a different supervisor. That supervisor was vocal that he was

    contemptuous of blacks and civil rights. That supervisor was in charge



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    of assigning the plaintiff to training to operate the vessels in Plant 7.

    He never assigned the plaintiff to training. Instead, he did several

    “walkthroughs” with the plaintiff. A “walkthrough” is an oral

    examination of an operator that takes place while walking through the

    various stations in a chemical plant. The operator is asked questions

    by the supervisor about the operation of the plant and is given

    hypothetical situations and asked to respond to them. The grading of

    the ”walkthrough” is highly subjective within the discretion of the

    supervisor.

 7. Not surprisingly, the plaintiff’s supervisor gave him low marks. Those

    low marks were ultimately used to justify the termination of the

    plaintiff from the defendant’s employment.

 8. The plaintiff received passing grades on all of his written

    examinations.

 9. The plaintiff suffers from the disease of gout. Gout is a painful

    condition that can impair the plaintiff’s ability to stand up or walk.

 10.The employer knew of the plaintiff’s medical condition and the

    defendant’s sponsored health and medical insurance paid for

    plaintiff’s treatment.




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 11.The plaintiff has a chronic illness that requires medical monitoring.

    The defendant was aware of this medical condition. The plaintiff

    made use of the defendant’s health and medical insurance to obtain

    treatment for his medical condition.

 12.The plaintiff was replaced by a 30 year old person.

 13.There is direct evidence of discrimination against the plaintiff and

    other workers with a similar profile.

 14.The employer’s stated reason for termination is a pretext. The

    employer’s proffered reason for justifying the termination is not

    logical or reasonable; and, does not conform to the law.

 15.The plaintiff reported discriminatory behavior of his supervisor to the

    Human Resources department at the defendant. The response of the

    defendant was to terminate the employment of the plaintiff.



                    CAUSE OF ACTION:
        TITLE VII OF THE CIVIL RIGHTS ACT OF 1964


 16.Title VII of the Civil Rights Act of 1964 prohibits an employer from

    discriminating against an employee on the basis of race. See 42 U.S.C.

    § 2000e-2(a)(1) (Title VII). Under Title VII, a plaintiff can prove

    discrimination through direct or circumstantial evidence. Turner v.



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    Baylor Richardson Medical Ctr., 476 F.3d 337, 345 (5th Cir. 2007)

    (Title VII); Russell v. McKinney Hosp. Venture, 235 F.3d 219, 222 n.3

    (5th Cir. 2000) (ADEA).

 17. To establish a prima facie case of discrimination under Title VII, a

    plaintiff must show: (1) he is a member of a protected class; (2) he was

    qualified for the position; (3) he was the subject of an adverse

    employment action; and (4) he was treated less favorably than

    similarly situated persons who were not members of the protected

    class. Lee v. Kansas City S. Ry. Co., 574 F.3d 253, 259 (5th Cir. 2009)

    (Title VII); Bishop v. Texarkana Tex. Police Dep’t., 370 Fed. App’x

    546, 548 (5th Cir. 2010) (citing Bodenheimer v. PPG Indus., Inc., 5

    F.3d 955, 957 (5th Cir. 1993)) (ADEA).

 18. Under Title VII, the plaintiff must prove that his race was a motivating

    factor in the decisions to take adverse employment action against him.

    Peterson v. Bell Helicopter Textron, Inc., 807 F.3d 650, 657 n.1 (5th

    Cir. 2015) (citing 42 U.S.C. 2000e-2(m)).

 19. The plaintiff states a prima facie case against the defendant based upon

    race discrimination because: (A) he is a member of a protected group;

    (B) he is qualified for the position; (C) he has suffered an adverse

    employment action; and, (D) he has established that he was treated


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    differently than other employees similarly situated. The plaintiff brings

    suit against the defendant for a redress of his injuries.



                CAUSE OF ACTION:
THE AGE DISCRIMINATION IN EMPLOYMENT ACT OF 1967


 1. The ADEA prohibits an employer from discriminating against an

    employee on the basis of age. See 42 U.S.C. § 2000e-2(a)(1) (Title

    VII); 29 U.S.C. § 623(a)(1) (ADEA). Under Title VII and the ADEA,

    a plaintiff can prove discrimination through direct or circumstantial

    evidence. Turner v. Baylor Richardson Medical Ctr., 476 F.3d 337,

    345 (5th Cir. 2007) (Title VII); Russell v. McKinney Hosp. Venture,

    235 F.3d 219, 222 n.3 (5th Cir. 2000) (ADEA).

 2. To establish a prima facie case of discrimination under Title VII and

    the ADEA, a plaintiff must show: (1) he is a member of a protected

    class; (2) he was qualified for the position; (3) he was the subject of an

    adverse employment action; and (4) he was treated less favorably than

    similarly situated persons who were not members of the protected

    class. Lee v. Kansas City S. Ry. Co., 574 F.3d 253, 259 (5th Cir. 2009)

    (Title VII); Bishop v. Texarkana Tex. Police Dep’t., 370 Fed. App’x

    546, 548 (5th Cir. 2010) (citing Bodenheimer v. PPG Indus., Inc., 5


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    F.3d 955, 957 (5th Cir. 1993)) (ADEA).

 3. The plaintiff states a prima facie case against the defendant based upon

    age discrimination because: (A) he is a member of a protected group;

    (B) he is qualified for the position; (C) he has suffered an adverse

    employment action; and, (D) he has established that he was treated

    differently than other employees similarly situated. The plaintiff brings

    suit against the defendant for a redress of his injuries.

 4. The plaintiff was replaced by a younger worker.

 5. At the time of his termination, the plaintiff was one of the most highly

    compensated operators in the chemical plant.



               CAUSE OF ACTION:
EMPLOYEE RETIREMENT INCOME SECURITY ACT (ERISA)


 6. The plaintiff was a full time employee of the defendant. As such, he was

    a participant in the defendant’s retirement system and he was covered

    by the defendant’s health and major medical insurance.

 7. The value of the monthly benefits payable by plaintiff’s retirement plan

    increases substantially in the final years of employment as the employee

    approaches his retirement date.

 8. The plaintiff was 58 years old at the time of termination. The plaintiff


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    was terminated when the employer became aware that the plaintiff

    would require major medical intervention.

 9. The Employee Retirement Income Security Act (ERISA), 29 U.S.C.

    Ch. 18 §1001, et seq, prohibits taking adverse action against an

    employee for the purpose of limiting or denying that employee an

    “employment benefit.”

 10. The plaintiff asserts that one of the motives underlying the termination

    of his employment was to limit, reduce the value of, or deny him his

    retirement benefits and his major medical benefits.


                               DAMAGES


 11. DAMAGES: GENERAL. The plaintiff pleads for compensatory and

    punitive damages in an amount to be found just and right by the jury

    and the Court.

 12. The plaintiff requests front pay damages.

 13. The plaintiff requests back pay damages.

 14. DAMAGES: SPECIAL. The plaintiff suffered a loss of one hundred

    sixty thousand dollar per year ($160,000.00) reduction in income as the

    result of his termination. The plaintiff intended to retire at the age of 65

    years. He suffered the discrimination at the age of 58 years. Therefore,



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      he has suffered “actual” damages in an amount not less than one million

      one hundred twenty thousand dollars ($1,120,000.00).

   15. EXEMPLARY DAMAGES. The Plaintiff requests punitive or

      exemplary damages (liquidated damages) against the defendant by

      reason of its gross negligence, conscious indifference to the welfare of

      the Plaintiff and persons in his position, and intentional malice.


                               ATTACHMENT


   16. Marked as “Exhibit A” and attached hereto and incorporated herein for

      all purposes is a true and correct copy of the Charge of Discrimination

      and Notice of Right to Sue from the Texas Workforce Commission

      Human Rights Division granting the plaintiff the authority to bring this

      lawsuit.


                          JURY TRIAL DEMANDED


   17. The plaintiff demands a trial by jury as is his right under the

      Constitution of the United States of America.


      WHEREFORE, PREMISES CONSIDERED, the Plaintiff, RONNIE

COLEMAN, prays that the Court grant him the following relief as against the

Defendant, CHEVRON PHIILIPS CHEMICAL COMPANY LP:


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    (a)   general damages as stated above;


    (b)   special damages as stated above;


    (c)   exemplary damages when and if permitted;


    (d)   prejudgment interest at the maximum rate;


    (e)   postjudgment interest at the maximum rate;


    (f)   and such further relief, at law and in equity, to which the Plaintiff

          may be justly entitled;


    (g)   the plaintiff demands a trial by jury.


                              RESPECTFULLY SUBMITTED:

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                       BY: __/s/Stephen E. Menn___
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